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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA


   In re:                                             *

   Trimont Energy (NOW), LLC1                         *                Chapter 11 Subchapter V

   Debtor                              *                               Case No. 23-11868
   *************************************
   In re:                              *

   Trimont Energy (GIB), LLC                          *                Chapter 11 Subchapter V

   Debtor                              *                               Case No. 23-11869
   *************************************

       OBJECTION TO PROOFS OF CLAIM NUMBERS 7 (Case No. 23-11868); and 6 (Case
                  No. 23-11869) FILED BY FREESTONE DRIVE I, LLC

            NOW INTO COURT, through undersigned counsel, come Trimont Energy (NOW), LLC

   (“NOW”) and Trimont Energy (GIB), LLC (“GIB” together, the “Debtors”), who file this objection

   with reservation of rights to the proofs of claim filed by Freestone Drive I, LLC (“Freestone”) in

   the respective cases. Specifically, the Debtors object to Claim Numbers 7 in Case No. 23-11868

   (the “NOW POC”); and 6 in Case No. 23-11869 (the “GIB POC”) together, the “POCs”). 2 First,

   the claims (including the claims filed in the other two related cases of Trimont Energy Limited,

   Inc. (“TEL”) and Trimont Energy (GIB), LLC (“GIB”)) are identical and are duplicative of one

   another. Second, the amount claimed in the POCs reflect claimed proceeds from production from

   wells that are not owned by NOW. One of the wells (Delta Well) is owned by GIB but Freestone

   has no interest in the well. As such Freestone has no claim to production proceeds against NOW




   1
             Trimont Energy (NOW), LLC (#23-11868); Trimont Energy (GIB), LLC (#23-11869); Trimont Energy
   Limited, Inc. (#23-11872); and Whitney Oil & Gas, LLC (#23-11873) have moved for their bankruptcy cases for
   joint noticing procedures.
   2
     Freestone also filed Claims Nos. 2 in Case No. 23-11872 (the “TEL POC”); and 50 in Case No. 11873 (the
   “Whitney POC.”


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   and GIB. The only claims Freestone possesses are against Whitney in an amount to be determined.

   To be clear, no interest in any well bore was transferred to Freestone by NOW or GIB

                                           BACKGROUIND

          1.      On October 25, 2023 (the “SubV Petition Date”), NOW and GIB both filed

   petitions for relief in this Court under chapter 11 of the Bankruptcy Code (11 U.S.C. § 101, et seq.)

   and elected to proceed under Subchapter V.

          2.      On October 26, 2023 (the “Chapter 11 Petition Date”), Trimont Energy Limited,

   Inc. (“TEL”) and Whitney Oil & Gas, LLC (“Whitney”) filed petitions for relief in this Court under

   chapter 11 of the Bankruptcy Code and did not elect to proceed under Subchapter V.

          3.       On January 5, 2024, Freestone filed identical POCs in all four cases, asserting a

   total claim of $5,658,530.42 in each of the four cases.

          4.      The POCs are comprised of the following:

                  a. Production Proceeds totaling $2,256,741.04, with $85,573.50 being attributable

                      to the “Delta Well” located in Garden Island Bay on State Lease 214, and the

                      remaining coming from East Bay;

                  b. Prepetition penalties and legal fees allegedly owed under a joint operating

                      agreement signed by Whitney and Freestone totaling $287,612.65;

                  c. An unstated amount for potential LOWLA claims by Freestone;

                  d. An unstated amount for “all amounts owed” under the agreements between

                      Freestone and Whitney;

                  e. An unstated amount for obligations owed under the operating agreement with

                      Whitney and all potential Plugging and Abandonment Obligations (“PnA

                      Obligations”);




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                       f. Payment allegedly made to Whitney for its interest in the Delta Well in Garden

                           Island Bay, totaling $3,115,176.73, plus alleged recover for amounts paid for

                           interests in the Alpha, Beta, Gamma, and Epsilon Wells (approximated total of

                           $25,253,824.47); and

                       g. An unstated amount for damages for all unconveyed well interests by Whitney.

              5.       Again the four POCs filed in each case all reflect the same amounts regardless of

   the case in which the individual POC was filed.

              6.       As it pertains to this case, the property from which the Freestone claims arise dates

   back to a June 2015 agreement3 whereby ELP Oil & Gas, Inc. (“EPL Oil & Gas”) attempted to

   transfer certain State and Federal Leases in East Bay field to NOW and Whitney. However, EPL

   Oil & Gas did not own the State Leases listed in the June 2015 Transfer. As such, it did not have

   the right to transfer them to either NOW or Whitney. The State Leases in the June 2015 agreement

   include the State Leases out of which Freestone’s claim arises.

              7.       The lack of EPL Oil & Gas’s interest in the State Leases is evidenced by a

   December 2015 agreement4 whereby EPL of Louisiana, LLC (“EPL Louisiana”) transferred the

   same State Leases listed in the June 2015 agreement only to Whitney.

              8.       The result of the above two transactions is that NOW owned only a ½ interest in

   the Federal Leases and Whitney owned a full interest in the State Leases and a ½ interest in the

   Federal Leases. NOW did not own any interest in the State Leases.

              9.       After filing the Chapter 11 cases by NOW, GIB, TEL, and Whitney counsel for the

   Debtors and counsel for Freestone met and discussed the ownership issue. Title work was

   undertaken by counsel for Freestone, which when reviewed and analyzed by counsel for the


   3
       Attached hereto as Exhibit 3.
   4
       Attached hereto as Exhibit 4.


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   Debtors, revealed that NOW owned no interest in the State East Bay Leases. The transfer by

   Whitney to Freestone of four well bores in East Bay transferred title to the interests articulated in

   the transfer documents to Freestone. It also, however, revealed that Whitney did not possess record

   title or for that matter any title to the well bore located in Garden Island Bay and allegedly

   transferred to Freestone. The transfers of the well bores was recorded in December of 2022.

              10.      That being said, when NOW originally filed its Schedules in its case (Case No. 23-

   11868), it was under the impression that it owned a ½ interest in both the Federal and State Leases.

   Given the revelations as to the title issues described above, NOW, in fact, only owns a ½ interest

   in the Federal Leases and no interest in the State Leases identified in the Freestone POCs.

              11.      In December 2022, Whitney attempted to transfer four wellbores located in East

   Bay (Wells Alpha, Beta, Gamma, and Epsilon in the Freestone POCs) and one wellbore located in

   Garden Island Bay (Delta Well in the Freestone POCs) to Freestone.5 Whitney was the only debtor

   party to the 2022 mutual agreement;6 NOW, GIB, and TEL were not parties.

              12.      Freestone has not paid its share of the lease operating expenses attributable to the

   four East Bay Well bores since August 2021. This issue and the net claim of Freestone will be

   decided at a later point.

                        REQUEST FOR RELIEF AND ARGUMENT IN SUPPORT

         A. The NOW POC Should be Denied and Expunged in its Entirety

              13.      The Freestone POCs reflect amounts allegedly owed from various agreements

   pertaining to State Leases in which NOW had no interest and no right to transfer any rights

   pertaining to same. As stated above, although NOW was a party to the June 2015 agreement

   attempting to transfer both the Federal and State Leases to NOW and Whitney, EPL Oil & Gas did


   5
       A copy of the Wellbore Assignments is attached hereto as Exhibit 5.
   6
       The other party is a non-debtor affiliate, DP South Pass, LLC


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   not own any interest in the State Leases (only EPL Louisiana did) and neither NOW nor Whitney

   acquired any interest in the State Leases pursuant to the June 2015 agreement.

          14.     Although the December 2015 agreement listed the correct interest holder as EPL

   Louisiana, NOW was not a party to that agreement. As such, only Whitney (not NOW), acquired

   an interest in the State Leases listed in the Freestone POCs.

          15.     Further, by Freestone’s own filings, NOW was not a party to any agreement with

   Freestone. As such any claims arising from contractual violations should properly be asserted

   against Whitney (the signatory to the agreements) and not against NOW, GIB, or TEL.

          16.     Thus, pursuant to 11 U.S.C. § 502(b)(1) the NOW POC should be denied and

   expunged in its entirety as unenforceable against NOW.

      B. The GIB Claim

          17.     Although the GIB Claim asserts the same amount as the other Freestone POCs, it

   can only arise out of property that belongs to the GIB estate or from contractual dealings by GIB.

   While GIB does not dispute that it is the record title holder for the Delta Well, it was not part of

   the December 2022 agreement whereby Whitney attempted to transfer an interest in the Delta Well

   to Freestone. Whitney did not own any interest in the Delta Well and could not transfer anything

   pertaining to the Delta Well to Freestone. Nor was GIB a party to any agreement with Freestone.

          18.     Again, GIB concedes that it paid production proceeds to Freestone up to August

   2021; however, since that time, Freestone has not paid any operating costs to GIB or Whitney, as

   operator for the GIB wellbore. In addition to not having any interest in the GIB wellbore, an

   accounting needs to occur to address the GIB wellbore production proceeds that were paid to

   Freestone and how to address the unpaid Lease Operating Costs by Freestone.




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          19.      Thus, pursuant to 11 U.S.C. § 502(b)(1), the GIB POC should be denied and

   expunged in its entirety as unenforceable against GIB because, as to the contractual claims, there

   is no contractual privity between GIB and Freestone, and to the extent it arises out of any claimed

   ownership in the Delta Well, Whitney did not have the right to transfer any interest in the Delta

   Well because it did not own any interest in the first place, and even if Freestone can claim an

   interest in the Delta Well, it has not paid operating costs since August 2021 and is not entitled to

   production proceeds.

          20.      The Debtors reserve all rights to amend this claim objection pending a complete

   accounting of the GIB wellbore production numbers as well as all unpaid lease operating costs due

   from Freestone.

          WHEREFORE, Trimont Energy (NOW), LLC and Trimont Energy (GIB), LLC pray as
   follows:
          a) Proof of Claim 7 in Case No. 23-11868 be disallowed and expunged in its entirety as

                unenforceable against Trimont Energy (NOW), LLC;

          b) Proof of Claim 6 in Case No. 23-11869 be disallowed and expunged in its entirety as

                unenforceable against Trimont Energy (GIB), LLC; and

          c) For such further relief as is just and equitable.

   Dated: February 20, 2024

                                                 Respectfully submitted,



                                                /s/Douglas S. Draper
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                                     CERTIFICATE OF SERVICE

          I, Douglas S. Draper, do hereby certify that I caused the above and foregoing to be served
   on February 20, 2024 to all parties entitled to service via the Court’s CM/ECF Electronic
   Notification System as follows:
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                                                 /s/Douglas S. Draper
                                                 Douglas S. Draper




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